Entered: May 7th, 2019
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Signed: May 3rd, 2019

SO ORDERED
NO TIMELY OPPOSITION.




                        IN THE UNITED STATES BANKRUPTCY COURT
                             FOR THE DISTRICT OF MARYLAND
                                    (Baltimore Division)
         IN RE:                                  *
         SCOTT-HARRIS, CRYSTAL L.                *       Case No. 18-24939-NVA
                                                 *
                   Debtor                        *       (Chapter 7)
         *      *  *      *    *    *      *     *       *      *      *    *                         *


              ORDER GRANTING TRUSTEE’S APPLICATION FOR AUTHORITY AND
          APPROVAL TO EMPLOY GLADWIN D’COSTA, A MEMBER OF MARYLAND REO
            REALTY, AND APPROVAL OF LISTING AGREEMENT FOR SALE OF REAL
                                     PROPERTY


                   Now the above-captioned matter comes on before this Court upon the Application of the

         Chapter 7 Trustee herein, George Liebmann, and pursuant to 11 U.S.C. §327, requesting authority

         to employ the professional services of Gladwin D'Costa, a member of Maryland REO Realty, in

         this matter for the listing and sale of real estate known as 6415 Lehnert Street, Baltimore, Maryland

         21207, and to approve the Listing Agreement for this property. The Trustee filed the Application

         on April 12, 2019. The Trustee served the Motion on the Office of the United States Trustee,

         Debtors’ counsel, Debtors and all parties of interest in this matter. To date, no objections or

         responses have been filed with the Court as to the Trustee’s Application, nor have any objections

         or responses been served upon the Trustee or his counsel.

         The Court, having jurisdiction herein, finds as follows:
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    1.      The Applicant is the duly qualified and acting Chapter 7 Trustee of the bankruptcy

estate of Crystal L. Scott-Harris.

    2.      Gladwin D'Costa, a member of Maryland REO Realty, has the expertise and

knowledge to assist the Chapter 7 Trustee with the marketing and sale of real property located

at 6415 Lehnert Street, Baltimore, Maryland 21207, which is legally described as follows:

LOT:232 DIST:02 6415 LEHNERT ST BROADACRES MAP REF:88 20 391 hereinafter

referred to as the “Real Property”.

    3.      The Debtor has not declared the Real Property as exempt.

    4.      The Chapter 7 Trustee desires to employ Gladwin D'Costa, a member of Maryland

REO Realty (jointly referred to hereafter as “Local Listing Broker”), to provide professional

services on behalf of this bankruptcy estate for the marketing and sale of the Real Property

identified hereinabove, in which the above-named Debtor holds an interest. The Local Listing

Broker is requesting a commission of two percent (2%) of the gross sale proceeds. All fees

and expenses will be presented to the Court for approval prior to payment.

    5.      A duly executed and verified statement of disinterestedness was attached to the

Application as Exhibit “A” setting out that the employees and members of Maryland REO

Realty are disinterested persons, as the term is used in the Bankruptcy Code, do not hold an

interest adverse to the bankruptcy estate, is not aware of any connection with the Debtor,

creditors, any other party in interest, their respective attorneys or accountants, the United States

Trustee or any person employed in the Office of the United States Trustee and understand there

is a continuing duty to disclose any such adverse interest.

    6.      Notice of the request and approval of the employment of this professional was

provided and served upon all parties of interest in this matter.
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        7.       Also attached to the Trustee’s Application as Exhibit “B” was a copy of the Listing

    Agreement and the Chapter 7 Trustee requested that the Court approve this Agreement, which

    the Chapter 7 Trustee has executed on behalf of this bankruptcy estate.

        8.       BK Global Real Estate Services (“BK Global”) has been retained by the Chapter 7

    Trustee and BK Global has agreed to fully cooperate with Local Listing Broker.

        9.       Shellpoint Mortgage claims a mortgage interest in the Real Property and has

    consented to the sale of the Real Property subject to their security interest.

              The Court, having reviewed the file herein and being fully advised, finds that good

    cause exists to grant the Trustee’s Application and for the entry of this Order.

        IT IS, THEREFORE, BY THE COURT ORDERED that the Notice as to the Application

to Employ Gladwin D'Costa, a member of Maryland REO Realty, as served by the trustee upon

all parties of interest in this matter was due, proper and sufficient, and no further or additional

notice is necessary or required.

        IT IS BY THE COURT FURTHER ORDERED that the Chapter 7 Trustee’s Application

is hereby GRANTED and the Chapter 7 Trustee is hereby AUTHORIZED to employ the

professional services of Gladwin D'Costa, a member of Maryland REO Realty, in this bankruptcy

estate, for the listing and sale of the Real Property.

        IT IS BY THE COURT FURTHER ORDERED that the Listing Agreement with Gladwin

D'Costa, a member of Maryland REO Realty, for the sale of the subject Real Property is hereby

APPROVED.

        cc:
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Office of the U.S. Trustee                 Shellpoint Mortgage Services
Garmatz Federal Courthouse                 c/o McCabe, Weisberg & Conway
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Baltimore, MD 21201                        Laurel, MD 20707

Adam M. Freiman                            Crystal L. Scott-Harris
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                                           6415 Lehnert Street
Suite B4
                                           Gwynn Oak, MD 21207
Baltimore, MD 21208

Gladwin D’Costa                            Synchrony Bank
Maryland REO Realty                        c/o PRA Receivables Management, LLC
13978 Baltimore Ave.                       PO Box 41021
Laurel, MD 20707                           Norfolk, VA 23541
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                                           Liebmann & Shively, PA
                                           8 W. Hamilton Street
                                           Balitmore, MD 21201



                                END OF ORDER
